

ORDER

PER CURIAM:
AND NOW, this 7th day of August, 1997, there having been filed with this Court by Morris L. Chucas his verified Statement of Resignation dated June 24,1997, stating that he desires to resign from the Bar' of the Commonwealth of Pennsylvania in accordance with the provisions of Rule 215, Pa. R.D.E., it is
ORDERED that the resignation of Moms L. Chucas be and it is hereby accepted and he is DISBARRED ON CONSENT from the Bar of the Commonwealth of Pennsylvania; and it is further ORDERED that he shall comply with the provisions of Rule 217, Pa. R.D.E. Respondent shall pay costs, if any, to the Disciplinary Board pursuant to Rule 208(g), Pa.R.D.E.
